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                                                                   United States District Court
                                                                     Southern District of Texas

                                                                        ENTERED
                                                                      August 24, 2023
                     UNITED STATES DISTRICT COURT
                                                                     Nathan Ochsner, Clerk
                      SOUTHERN DISTRICT OF TEXAS
                         GALVESTON DIVISION

SHELTON HOWARD,                        §
                                       §
       Plaintiff,                      §
                                       §
VS.                                    §             3:23-CV-105
                                       §
AMERIHOME MORTGAGE                     §
COMPANY, LLC,                          §
                                       §
       Defendant.                      §

                                   ORDER

       The defendant filed a Rule 12(c) motion for judgment on the pleadings.

Dkt. 9. The plaintiff objected that he should be allowed to amend his

complaint before the court considers the defendant’s 12(c) motion. Dkt. 10.

The plaintiff then filed an amended complaint, without seeking leave of the

court prior to filing. Dkt. 12.

       After the time to amend as a matter of course has expired, as it has

here, a “party may amend its pleading only with the opposing party’s written

consent or the court’s leave.” Fed. R. Civ. P. 15(a)(2). However, “[t]he court

should freely give leave [to amend] when justice so requires.” Id. When a

plaintiff improperly fails to seek the court’s leave before filing an amended

complaint, “the court may choose not to strike the pleading in the interests



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of judicial economy.” Lee v. Wells Fargo Bank, N.A., No. CIV.A. H-11-1334,

2012 WL 6132510 (S.D. Tex. Dec. 10, 2012). Under Rule 15(a)(2)’s lenient

standard, the court recognizes the plaintiff’s amended complaint, Dkt. 12, as

the live complaint. See 4 Charles A. Wright, Arthur R. Miller, & Mary Kay

Kane, Federal Practice and Procedure, § 1484 (3d ed.). Accordingly, the

defendant’s 12(c) motion is denied without prejudice.

     Signed on Galveston Island this 24th day of August, 2023.




                                      __________________________
                                      JEFFREY VINCENT BROWN
                                      UNITED STATES DISTRICT JUDGE




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